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                 EXHIBIT B-050
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                    IN THE SUPERIOR COURT OF FULTON COUNTt-¥-F-I_L_E_D_I_N_O_F_F_I_C_E--,

                                     ST ATE OF GEORGIA

INRE:                                         )
                                              )       2022-EX-000024
SPECIAL PURPOSE GRAND JURY                    )
                                              )       Judge Robert C. I. McBurncy
                                              )


            DISTIUCT ATTORNEY'S RESPONSE IN OPPOSITION TO
        RUDOLPH WILLIAM LOUIS GIULIANl'S EMERGENCY MOTION TO
              CONTINUE HEARING/GRAND JURY APPEARANCE
                     PURSUANT TO O.C.G.A. § 24-13-26


        COMES NOW District Attorney Fani T. Willis, Atlanta Judicial Circuit, and responds in

opposition to Rudolph William Louis Giuliani's motion for continuance of his scheduled grand

jury appearance on August 9, 2022, and in support says as follows:

        1. On August 6, 2022, Rudolph William Louis Giuliani (hereinafter, the "Witness")

           submitted a motion to the Court asking that his appearance before the special purpose

           grand jw-y, which had previously been set by Hon. Thomas Farber of the Supreme

           Court of the State of New York for August 9, 2022, be continued to an unspecified

           future date.

        2. In support of his motion, the Witness relics in part on two letters written by Eric

           Neihart, MD, and submitted to the District Attorney by counsel for the Witness. The

           first, dated August 2, 2022, states that the Witness "is not yet cleared for travel" due

           to a "recent invasive procedure." After receiving this letter, the District Attorney

           informed counsel for the Witness that it had determined that the witness had traveled

           outside of the State of New York after his medical procedure. See @RudyGiuliani

           Tweet from August 1, 2022, "Exhibit A." Counsel for the Witness then submitted a
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           second letter, also dated August 2, 2022, that states that the Witness "is not yet

           cleared for air travel" and that his status would be reevaluated in four weeks.

       3. Additionally, the District Attorney has obtained records that indicate that between

           July 19, 2022, and July 21, 2022, the Witness purchased multiple airline tickets with

           cash, including tickets to Rome, Italy, and Zurich, Switzerland, for travel dates

           ranging between July 22, 2022, and July 29, 2022. All of these dates were after the

           Witness's medical procedure.

       4. Finally, in light of the letter provided to the District Attorney suggesting that the

           Witness is not cleared for air travel, the District Attorney offered to provide

           alternative methods of travel for the Witness, including bus or train fare. See E-mail

           from Will Wooten to Robert J. Costello dated August 2, 2022, "Exhibit B."

       WHEREFORE, based on the foregoing, the District Attorney respectfully requests that

the Court deny Rudolph William Louis Giuliani's motion and order him to comply with both the

order of this Court and the order of the Supreme Court of the State of New York commanding his

appearance before the special purpose grand jury instanter.

       Respectfully submitted this the 8th day of August, 2022,

                                                      FANI T. WILLIS
                                                      DISTRICT ATTORNEY
                                                      ATLANTA JUDICIAL CIRCUIT




                                                                    eet Southwest
                                                      Third floor
                                                      Atlanta, Georgia 30303
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                   Exhibit A
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            RL1dyW. Giuliani@
     :;.r   @RudyGiuliani


   Having fun in #603 with the best entertainment
   reporter @conlin_lauren




   6:06 PM• P..ug1, 2022 • Twitter for iPhone
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                    Exhibit B
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Wooten, Will

From:                                 Wooten, Will
Sent:                                 Tuesday, August 2, 2022 5:22 PM
To:                                   Costello, Robert J.
Subject:                              Re: Giuliani



Mr. Costello,

We do not consent to change the date. We expect to see your client before the grand jury on August 9, 2022,
here in Atlanta. We will provide alternate transportation including bus or train if your client maintains that he is
unable to fly.

Best regards,

Will Wooten (He/Him)
Deputy District Attorney
White Collar Crime Unit
D/\.'s LGBTQ+ Advisory Committee Co-Chair
Fulton County District Attorney's Office
 136 Pryor Street SW
Atlanta. GA 30303
(404) 612-6560

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70, et seq.



           On Aug 2, 2022, at 16:09, Costello, Robc11 J. <rjc@dhclcgal.com>            wrote:




             This Message Is From an External Sender
             This message came from outside Fulton County Government. Use caution with links/attachments.

                                                                                                            Report Suspicious




           Mr. Wooten,
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    I !ere is the latest letter from Dr. Neiba1t which specifies no air travel. I am certain you have
no contrary evidence as you have offered none. If you are still uncertain please note Dr. Neibart
has invited your office to reach out with any questions.
   Let me have your earliest response.
                      Robert J. Costello



Sent from my iPhonc


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wire money to any bank account that our office provides to you via email
without first speaking with our office. Further,do not accept emailed
wiring instructions from anyone else without voice verification from a known
employee of our office. Even if an email looks like it has come from this
office or someone involved in your transaction. Please call us first at a number
you know to be correct for this office to verify the information before wiring
any money. Be particularly wary of any request to change wiring instructions
you already received.
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***********************************************************************
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<[Untitledl




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing State's Response in Opposition to Rudolph
William Louis Giuliani's Emergency Motion to Continue Hearing/Grand Jury Appearance
Pursuant to O.C.G.A. § 24-13-26 has been served upon William H. Thomas, Jr., counsel for
Rudolph William Louis Giuliani, via electronic mail, this the 8th day of August, 2022,

                                                    FANI T. WILLIS
                                                    DISTRICT ATTORNEY
                                                    ATLANTA JUDICIAL CIRCUIT




                                                                  et Southwest
                                                    Third Floor
                                                    Atlanta, Georgia 30303
